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LSL = Academic Affairs

VIA EMAIL: jasmith@jarthursmith.com
Dr. Brian Salvatore

c/o J. Arthur Smith I

Smith Law Firm

830 North Street

Baton Rouge, LA 70802

March 6, 2024

RE: hearing committee request
Dear Dr. Salvatore,

The hearing on your removal as tenured faculty is set for April 3, 2024 at 8:00 a.m. in the
LSUS Chancellor’s Board Room. Pursuant to LSUS Policy Statement 2.19.02, Section IV,
Chancellor Robert Smith has appointed the following faculty to the Hearing Committee
in this matter: Dr. Meredith Nelson, Dr. Timothy Shaughnessy, Dr. Yong Dai, Dr. Richard
Watson and Dr. Cheryl White.

As permitted under the policy, you may challenge the appointment of a Committee
member for any alleged lack of fairness or objectivity. Any challenge and any supporting
evidence must be submitted to me no Jater than 4:30 p.m. on March 20, 2024. Please
copy Chancellor Smith on any correspondence challenging Committee members.

The proceedings will be governed by LSUS Policy Statement 2.19.02. The following
procedures will be employed at the hearing:

1. The hearing will be set for one day only. Each side will be time-limited as follows:

a. Opening statements: 15 minutes per side

b. Presentation of evidence (including any witnesses) by the University: 2
hours

c. Presentation of evidence (including any witnesses) by Dr. Salvatore: 2
hours

d. Rebuttal by the University (if deemed necessary): 15 minutes

e. Closing statements: 15 minutes per side

Time limits may be adjusted by the Hearing Committee with good cause shown.

2. You are entitled to have an advisor present for the hearing. You are also entitled
to be represented by legal counsel at the hearing. Neither the advisor nor legal
counsel may cross-examine witnesses, present evidence, present argument,
address the committee, or directly participate in the hearing. The advisor and

legal counsel may only counsel and confer with you.
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3. University Counsel may also be present to advise the University, but may
not cross-examine witnesses, present evidence, or present argument.

4. The University will present first. You will present second. The University may
then present rebuttal.

5. To the extent the University intends to use any documentary evidence at the
hearing, it will be provided to you no later than 4:30 p.m. on March 20, 2024. To
the extent you intend to use any documentary evidence at the hearing, it must be
submitted to me no later than 4:30 p.m. on March 25, 2024. The University may
identify additional documents in rebuttal no later than 4:30 p.m. on March 27,
2024, at which point materials will be furnished to you and to the Committee.

6. Both you and the University will have the opportunity to present witnesses and
evidence and cross-examine any witnesses who present testimony. The
University will provide a list of any live witesses no later than 4:30 p.m. on
March 20, 2024. You must provide your witness list to me no later than 4:30 p.m.
on March 25, 2024. The University may then identify a rebuttal witness list no
later than 4:30 p.m. on March 27, 2024. You are responsible for the attendance
of your witnesses.

7. The University has already provided a document to you, dated November 8,
2023, detailing the charges. You have provided a written response, dated
December 11, 2023. Both will be shared with the Committee, but not before
March 27, 2024. Any additional briefs, letters or written argument must be
submitted to me no later than 4:30 p.m. on March 27, 2024.

8. The hearing shall be closed to the public. An audio recording of the proceedings
(but not the deliberations) will be made and filed with the Chancellor. A copy will
be provided to you upon request.

9. After the hearing, the Hearing Committee will deliberate in private. The
Committee will issue written findings on the material facts and issue a
recommendation for appropriate action to the Chancellor. The written findings
will include a vote count (if not unanimous) and any minority findings or
recommendations. The decision will be delivered to the Chancellor with a copy
to you.

Questions may be directed to me in writing. All submissions to the Committee should
be sent to me with a copy to Deputy General Counsel Trey Jones (jones@Ilsu.edu), who
will serve as University Counsel in this matter. Your counsel may also reach out to Mr.
Jones directly.

Sincerely yours,

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Dr. Helen Clare Taylor
Provost and Vice Chancellor for Academic Affairs
